       Case 1:24-cv-00774-LLA          Document 36       Filed 10/04/24      Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                )
COMMITTEE FOR A CONSTRUCTIVE    )
TOMORROW, et al.,               )
                                )
            Plaintiffs,         )
                                ) Case No. 24-cv-00774 (LLA)
      v.                        )
                                ) Hon. Loren L. AliKhan
UNITED STATES DEPARTMENT OF THE )
INTERIOR, et al.,               )
                                )
            Defendants.         )
                                )

                                PLAINTIFFS’ MOTION FOR
                                  SUMMARY JUDGMENT

       Under Rule 56 of the Federal Rules of Civil Procedure, Local Rule 7(h) of the United

States District Court for the District of Columbia, and the Court’s Scheduling Order,1 Plaintiffs,

Citizen for a Constructive Tomorrow et al. (collectively CFACT) ask this Court to grant

CFACT’s Motion for Summary Judgment and its request that the Court vacate and set aside the

October 30, 2023 Record of Decision authorizing construction and operation of the Coastal

Virginia Offshore Wind Project (Dominion Wind Project) and the National Marine Fisheries

Services’ Biological Opinion finding no jeopardy on the North Atlantic Right Whale, as arbitrary

and capricious and not in accordance with law in violation of the Administrative Procedure Act 2

and the Endangered Species Act.3 These challenged Government actions authorized Defendant,

Dominion Energy, to construct a massive wind turbine project off the coast of Virginia Beach in




1
  Scheduling Order (May 23, 2024), ECF No. 27.
2
  5 U.S.C. § 702.
3
  5 U.S.C. §§ 1531-1544.
                                                1
         Case 1:24-cv-00774-LLA         Document 36       Filed 10/04/24       Page 2 of 2




the migration path of and areas occupied year-round by the endangered North Atlantic Right

Whale.

         As explained in the Memorandum, the challenged Record of Decision and other

challenged agency authorizations, permits, and licenses are final agency actions subject to review

under the Administrative Procedure Act. There are no disputed issues of material fact. And the

CFACT Plaintiffs have standing to bring these claims under the Administrative Procedure Act

and the Endangered Species Act.

         In Support of this Motion, Plaintiffs rely on their Supporting Memorandum, the relevant

and cited portions of the Administrative Record, the declarations of Craig Rucker, Exhibit 2, and

Peter Flaherty, Exhibit 3, and the other attached exhibits, and any other material as appropriate or

as the Court may request.

                                                     Respectfully submitted,

Dated: October 4, 2024                               /s/Roger J. Marzulla
                                                     Roger J. Marzulla
                                                     Nancie G. Marzulla
                                                     Marzulla Law, LLC
                                                     1150 Connecticut Ave., NW, Suite 1050
                                                     Washington, D.C. 20036
                                                     (202) 822-6760
                                                     nancie@marzulla.com
                                                     roger@marzulla.com
                                                     Bar No. 394907
                                                     Bar No. 400985

                                                     Paul D. Kamenar
                                                     1629 K. Street, N.W.
                                                     Suite 300
                                                     Washington, D.C. 20006
                                                     (301) 257-9435
                                                     paul.kamenar@gmail.com
                                                     Bar No. 914200

                                                     Counsel for Plaintiffs



                                                 2
